                                  Case 2:18-cv-07090-CAS-GJS Document 55-32 Filed 12/03/18 Page 1 of 5 Page ID
                                                                   #:2601


                                   1 Robert E. Boone III (California Bar No. 132780)
                                     reboone@bclplaw.com
                                   2 BRYAN CAVE LEIGHTON PAISNER LLP
                                   3 120 Broadway, Suite 300
                                     Santa Monica, CA 90401-2386
                                   4 Telephone: (310) 576-2100
                                     Facsimile: (310) 576-2200
                                   5
                                   6 Kelly W. Cunningham (California Bar No. 186229)
                                     kcunningham@cislo.com
                                   7 CISLO   AND THOMAS LLP
                                     12100 Wilshire Boulevard, Suite 1700
                                   8 Los Angeles, CA 90025
                                     Telephone: (310) 451-0647
                                   9 Facsimile: (310) 394-4477
                                  10
                                     Attorneys for Defendant
                                  11 AMP PLUS, INC. d/b/a Elco Lighting
BRYAN CAVE LEIGHTON PAISNER LLP

  SANTA MONICA, CA 90401-2386
    120 BROADWAY, SUITE 300




                                  12
                                                           UNITED STATED DISTRICT COURT
                                  13
                                                          CENTRAL DISTRICT OF CALIFORNIA
                                  14
                                  15 DMF, Inc., a California corporation,         Case No. 2:18-cv-07090-CAS-GJS
                                  16                      Plaintiff,             DECLARATION OF SAEED
                                                                                 “STEVE” COHEN IN SUPPORT OF
                                                                                 "STEVE"
                                  17           v.                                OPPOSITION TO PLAINTIFF DMF,
                                  18 AMP PLUS, INC., d/b/a ELCO                  INC.’S MOTION FOR
                                                                                 INC.'S
                                                                                 PRELIMINARY INJUNCTION
                                  19 LIGHTING, a California corporation;
                                     ELCO LIGHTING, INC., a California            Date:        January 7, 2019
                                  20 corporation,                                 Time:        10:00 a.m.
                                  21                      Defendants.             Location:    Courtroom 8D,
                                                                                  350 West First Street, Los Angeles, CA
                                  22
                                     AMP PLUS, INC., d/b/a ELCO                   REDACTED VERSION OF
                                  23 LIGHTING, a California corporation;          DOCUMENT PROPOSED TO BE
                                                                                  FILED UNDER SEAL
                                  24                 Counterclaimant,
                                  25
                                               v.
                                  26
                                       DMF, Inc., a California corporation,
                                  27
                                                          Counter-Defendant.
                                  28

                                       USA01\12324646.1
                                                                DECLARATION OF SAEED "STEVE"
                                                                                     “STEVE” COHEN
                                  Case 2:18-cv-07090-CAS-GJS Document 55-32 Filed 12/03/18 Page 2 of 5 Page ID
                                                                   #:2602


                                   1         I, Saeed "Steve"
                                                      “Steve” Cohen, declare as follows:
                                   2
                                   3         1.     I am the President of AMP Plus, Inc. dba Elco Lighting ("Elco").
                                                                                                           (“Elco”). I
                                   4 provide this declaration in support of Elco's
                                                                            Elco’s Opposition to Plaintiff DMF, Inc.'s
                                                                                                                Inc.’s
                                   5 ("DMF")
                                     (“DMF”) Motion for Preliminary Injunction ("DMF's
                                                                               (“DMF’s Motion”).
                                                                                       Motion"). I have personal
                                   6 knowledge of the matters contained herein. If called as a witness in this action, I could
                                   7 and would testify to these matters.
                                   8         2.     Elco is a California S corporation that was formed in 1991. Ever since, I
                                   9 have been Elco's
                                               Elco’s President. As President, I am responsible for running the company.
                                  10          3.    I hold the following degrees: a Bachelor's
                                                                                    Bachelor’s Degree in Civil Engineering
                                  11 from Tehran University in 1978; and a Master’s
                                                                           Master's Degree in Engineering from Utah
BRYAN CAVE LEIGHTON PAISNER LLP

  SANTA MONICA, CA 90401-2386
    120 BROADWAY, SUITE 300




                                  12 State University in 1982. I also hold a Civil Engineering license (no. C 39672) and a
                                  13 Structural Engineering license (no. S 3145). In addition, I have been a member of the
                                  14 Illumination Engineering Society for 15 to 20 years.
                                  15         4.     Elco designs, manufactures and sells a wide variety of lighting products,
                                  16 including LED and incandescent product lines for recessed, track, undercabinet,
                                  17 outdoor and emergency lighting. Elco has been highly successful over many years and
                                  18 enjoys a good reputation in the lighting industry as a reliable source for high quality
                                  19 lighting products, including LED products, at reasonable prices. Elco sells to lighting
                                  20 distributors on a wholesale basis nationwide, as well as to Canada, Mexico, South
                                  21 America, Central America and the Carribean. Elco also has developed a network of
                                  22 independent sales representatives who market Elco products in these areas.
                                  23         5.     I am involved in, responsible for and knowledgeable about the design,
                                  24 development and specifications for Elco's
                                                                        Elco’s various lighting products, Elco’s
                                                                                                          Elco's marketing
                                  25 and sales of those products, and the performance of those products in the field.
                                  26         6.     I am familiar with the design and development of Elco’s
                                                                                                     Elco's ELL product
                                  27 line of light emitting diode ("LED")
                                                                  (“LED”) modules. These modules (the "ELL
                                                                                                      “ELL modules")
                                                                                                           modules”)
                                  28 include model nos. ELL0827, ELL0830, ELL0834, ELL0840, ELL1127, ELL1130,
                                                                                  1
                                                                DECLARATION OF SAEED "STEVE"
                                                                                     “STEVE” COHEN
                                  Case 2:18-cv-07090-CAS-GJS Document 55-32 Filed 12/03/18 Page 3 of 5 Page ID
                                                                   #:2603


                                   1 ELL1135 and ELL1140, which can be used in residential and commercial
                                   2 applications.
                                   3         7.      Elco began selling ELL modules in 2017.
                                   4         8.      Elco stopped shipping its initial design ELL modules on September 6,
                                   5 2018.
                                   6         9.      Elco developed a modified ELL module design in August 2018. Elco
                                   7 changed the initial design by making casting taller so that it no longer fits in a standard
                                   8 size 2” high junction box. Elco made the casting taller by raising the height of the rear
                                   9 closed face of the casting from a height of 1.5” from the open front face of the casting,
                                  10 to a height of 2” from the open front face of the casting. In the modified design, the
                                  11 light source is closer to the open front face of the casting than to the closed rear face of
BRYAN CAVE LEIGHTON PAISNER LLP




       co
  SANTA MONICA, CA 90401-2386




-      co
    O
    120 BROADWAY, SUITE 300




 W c=c CNI
Z
    W                             12 the casting. The closed rear face of the casting is a conical shape with a flat vertex.
<
    s
 z co
o -<                              13 Attached hereto as Exhibit 1 is a side view cut-away diagram of the modified ELL
    ¢-
o
    00
- < —
    O Z
                                  14 module design.
 W CC 0
¢m2
C..)O <
    OI
       Z
                                  15         10.     Elco began selling the modified ELL module design on September 12,
<      <

CO                                16 2018.
                                  17         11.     Elco’s
                                                     Elco's ELL modules and DMF’s
                                                                            DMF's DRD2 modules compete against a wide
                                  18 variety of LED and incandescent lighting products offered by numerous suppliers for
                                  19 all applications for which the ELL and DRD2 modules are designed. It is not true that
                                  20 the DRD2 module competes only with the ELL module. A customer considering
                                  21 either the ELL module and/or the DRD2 module typically is also considering other
                                  22 LED and/or incandescent products that can be installed in the particular application,
                                  23 which most often is for retrofit applications, for instance, installation into existing
                                  24 recessed downlight lighting cans. The spectrum of competing products is wide and
                                  25 may even include a traditional incandescent lamp downlight with a traditional standard
                                  26 size bulb base, or a LED downlight with an adaptor for a traditional standard size bulb
                                  27 base. Thus, a customer who decides not to use DMF's
                                                                                   DMF’s DRD2 module may choose any
                                  28
                                                                                   2
                                                                 DECLARATION OF SAEED "STEVE"
                                                                                      “STEVE” COHEN
                                  Case 2:18-cv-07090-CAS-GJS Document 55-32 Filed 12/03/18 Page 4 of 5 Page ID
                                                                   #:2604


                                   1 of a multitude of LED products besides the ELL module, or may choose an
                                   2 incandescent product, including with a traditional standard bulb base.
                                   3         12.    Nor is it true that every customer who buys the ELL module considered
                                   4 purchasing, let alone decided not to buy, the DRD2 module.
                                   5         13.    100% of Elco’s sales of its ELL modules have been to pre-existing Elco
                                   6 customers who are loyal to the Elco brand.
                                   7         14.    Elco sets it pricing for the ELL modules based upon the pricing of other
                                   8 products with which the ELL modules compete. Those products include a wide
                                   9 variety of LED and incandescent lights offered by numerous suppliers. Indeed, the
                                  10 ELL modules’ biggest competition is from other 4”, 5” and 6” recessed downlight
                                  11 products such as those offered by CREE, Philips Lighting (Lightolier), Halo Lighting,
BRYAN CAVE LEIGHTON PAISNER LLP




       co
  SANTA MONICA, CA 90401-2386




-      co
    O
    120 BROADWAY, SUITE 300




 W c=c CNI
Z
    W                             12 Rab Lighting, Rayon Lighting, Nora Lighting, American Lighting, Satco, Bulbrite,
<
    s
 z co
o -<                              13 and others. Attached hereto as Exhibits 2 through 11 are true and correct copies of
    ¢-
o
    00
- < —
    O Z
                                  14 photographs and diagrams of such competing products offered by these suppliers.
 W CC 0
¢m2
C..)O <
    OI
       Z
                                  15         15.    Elco does not really consider that the ELL modules compete with DMF's
                                                                                                                    DMF’s
<      <

CO                                16 DRD2 product because the DRD2 modules'
                                                                   modules’ pricing is significantly higher than the
                                  17 ELL modules'
                                         modules’ pricing. Most of Elco’s
                                                                   Elco's customers are operating within a budget, and
                                  18 that budget places a variety of products into consideration, which usually does not
                                             DMF’s DRD2 product.
                                  19 include DMF's
                                  20         16.    Based on Elco’s
                                                             Elco's sales of ELL modules, it appears that most, if not all, of
                                  21 those customers are not installing the ELL modules in junction boxes, as opposed to in
                                  22 lighting cans, for either retrofit or new construction. Elco has not sold any junction
                                  23 boxes in connection with its sales of any ELL modules.
                                  24         17.    Elco has not taken away customers from DMF. For instance, Walter's
                                                                                                              Walter’s
                                  25 Wholesale has been a distributor for Elco’s
                                                                          Elco's lighting products since 1993. Parkway
                                  26 Electrical has been an Elco customer since 1997. Value Lighting has been a customer
                                  27 of Elco since 2005. City Lights has been a customer of Elco since 1993. Lite Line
                                  28

                                                                                  3
                                                                DECLARATION OF SAEED "STEVE"
                                                                                     “STEVE” COHEN
                 Case 2:18-cv-07090-CAS-GJS Document 55-32 Filed 12/03/18 Page 5 of 5 Page ID
                                                  #:2605


                   1   Illuminations has been a customer of Elco since 1995. LBC Lighting has been a
                   2 customer of Elco since 1993.
                   3
                   4         I declare under penalty of perjury under the laws of the United States of
                   5 America and the State of California that the foregoing is true and correct.
                   6         Executed this 30th day of November 2018, at Vernon,ACalifornia.
                   7
                   8
                                                                            aeed "Steve" Cohen
                   9
                  10
0-
-J
           CO
                  11
CO         CO
IL 0       Csl
Z
  Wo              12
a 1-
  -o
           rn
o <
  >v
                  13
z
ITJ o
    < —
    0 Z
                  14
LU CC 0
     C° 2
     o <
     C‘l
           Z
                  15
CO
                  16
                  17
                  18
                  19
                  20
                  21
                  22
                  23

                  24
                  25
                  26
                  27

                  28

                                                                4
                                               DECLARATION OF SAEED "STEVE" COHEN
